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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ALONZO SMITH,                                        )
                                                     )
               Plaintiff,                            )       No. 16 C 3404
                                                     )
       v.                                            )       Judge Amy J. St. Eve
                                                     )
Former Chicago Police Department Commander           )       Magistrate Judge Mary M. Rowland
JON BURGE, et al.,                                   )
                                                     )
               Defendants.                           )

            PLAINTIFF’S RESPONSE TO DEFENDANT CITY OF CHICAGO’S
                            MOTION TO BIFURCATE

       Plaintiff, through his undersigned attorneys, hereby responds in opposition to Defendant

City of Chicago’s Motion to Bifurcate Plaintiff’s Monell Claim and Stay Expert Discovery and

Trial on that Claim (Dkt. No. 196).

                                       INTRODUCTION

       Faced with the predicament of having to mount a defense to Plaintiff’s Monell claim

concerning the pattern and practice of torture at Area 2 under disgraced former Police

Commander Jon Burge—one of the worst scandals in the history of the Chicago police

department—Defendant City asks this Court, in the midst of expert discovery, to bifurcate

Plaintiff’s Monell claim, stay expert discovery on the claim, and enter a proposed “Limited

Consent to Entry of Judgment,” thereby extinguishing the claim.

       There is no persuasive justification for granting the City such extraordinary relief. A

bifurcated trial is unnecessary to streamline trial proceedings or prevent prejudice to Defendants.

Instead, the City’s proposed course of action would likely prolong the case through the

inefficiencies of two separate trials involving redundant evidence. Moreover, granting such relief
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this late in the proceedings is highly prejudicial to Plaintiff who has already spent considerable

time and resources formulating his Monell claim in fact discovery, retaining an expert and

tendering his report.

        As for the City’s “Limited Consent to Entry of Judgment,” pursuant to which it would

deny liability but accept judgment against it if Plaintiff first establishes liability against the

individual defendants, it is procedurally improper, offers Plaintiff nothing to which he is not

already entitled, and, impermissibly seeks to eliminate Plaintiff’s Monell claim without

justification. This Court should deny the City’s motion in full.

                                          BACKGROUND

        Plaintiff Alonzo Smith spent approximately twenty years in prison, wrongfully convicted

in 1984 of the home invasion, armed robbery, and murder of James Fullilove. Plaintiff’s

complaint alleges that he was physically coerced into confessing and that the principal and

determinative evidence that was used to convict him at trial was his false, fabricated and coerced

confession. In 2015, following a full evidentiary hearing, Cook County Circuit Court Judge Erica

Reddick found that Plaintiff had been tortured into giving a confession, granted his post-

conviction petition, vacated his conviction, and granted him a new trial; subsequently, the State

of Illinois dismissed all charges against him.

        The Chicago Police detectives who coerced Plaintiff’s confession were Defendant

Sergeant John Byrne and Defendant Detective Peter Dignan—the right hand men of disgraced

former Chicago Police Commander Jon Burge, who was convicted and sentenced to federal

prison for lying about the torture of suspects under his command. See United States v. Burge,

711 F.3d 803 (7th Cir. 2013). Plaintiff alleges that Byrne and Dignan, acting in concert with, and

under the close supervision and monitoring of Burge—who was the supervising lieutenant in the



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Fullilove investigation and who threatened Plaintiff by telling him, on two occasions, that he

would talk “one way or another” “before the night was over with,” and that they “had ways of

making [him] talk”—subjected Plaintiff to extreme physical violence during his interrogation at

Area 2. This included Byrne and Dignan taking him to the basement of Area 2, repeatedly

suffocating him with a plastic bag, kicking him in the stomach and beating him about his body

with a black rubber nightstick and flashlight, while using racist epithets and slurs. During

discovery in this case, Defendants Burge, Byrne and Dignan did not deny any of these

allegations; instead, they asserted their Fifth Amendment right against self-incrimination.

       In addition to Burge, Byrne and Dignan, Plaintiff’s complaint also names former Chicago

Mayor Richard M. Daley, former Chicago Police Superintendents Leroy Martin and Terry

Hillard, former Chicago Police legal counsel Thomas Needham, and former Police Officer of

Professional Standards (“OPS”) Director Gayle Shines, individually, and in conspiracy, as

defendants and alleges that they share responsibility for Plaintiff’s unjust imprisonment, since

they knew of the pattern of police torture and physical abuse under Burge and concealed it—by

action and inaction.

       The complaint also seeks to hold liable the City of Chicago pursuant to Monell v. Dept. of

Social Services, 436 U.S. 658 (1978) based on three main theories: (a) Burge, Byrne and Dignan

and other detectives under Burge’s command engaged in a pattern and practice of torture with

impunity to coerce confessions from suspects in violation of their constitutional rights amounting

to a de facto policy, pattern and practice of physical coercion to obtain confessions and fabricate

evidence; (b) the numerous occasions in which Burge, Byrne and Dignan coerced confessions

from suspects was facilitated by a pervasive “code of silence” that also amounted to a de facto

municipal policy, pattern and practice of engaging in physical abuse and fabrication of evidence;



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and (c) the concealment of the pattern of torture under Burge by the defendant former Police

Superintendents and Police executives, defendant former Mayor Daley and others, were the

actions of official “policymakers” that bind the City under Pembaur v. City of Cincinnati, 475

U.S. 469 (1986); City of St. Louis v. Praprotnik, 485 U.S. 112 (1988); and Vodak v. City of

Chicago, 639 F.3d 738 (7th Cir. 2011).

       The Monell claim in this case raises a profoundly important issue: whether the City of

Chicago is legally responsible for the actions of Jon Burge and his detectives because of the

dereliction of high-level City policymakers—successive Superintendents of Police, Police

executives and the former long-time Mayor of Chicago—who were repeatedly, both officially

and unofficially, notified that Burge and his men were committing a pattern of horrific acts of

abuse and either did nothing or actively worked to conceal the wrongdoing. In other words, the

Monell claim seeks a finding that the City itself was a “moving force” of Plaintiff’s interrogation

abuse and his ongoing unjust imprisonment over the ensuing decades. See Monell, 436 U.S. at

694. The adjudication of the claim against the City is of great importance to Plaintiff, who

contends that the miscarriage of justice he endured was not solely the work of the torturers on the

ground but was also caused by the indifference, inaction, and ratification of high City officials.

                                          ARGUMENT

       Federal Rule of Civil Procedure 42(b) provides that “[f]or convenience, to avoid

prejudice, or to expedite and economize, the court may order a separate trial of one or more

separate issues, claims, crossclaims, counterclaims, or third-party claims.” Fed. R. Civ. P. 42(b).

The burden is on the proponent of bifurcation to justify that relief. See Caterpillar, Inc. v. Deere

& Co., 1997 WL 17798, at *1 (N.D. Ill. Jan. 14, 1997). Bifurcation is the exception, not the rule,

and separate trials should not be ordered “unless such a disposition is clearly necessary.” Real v.



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Bunn-O-Matic Corp., 195 F.R.D. 618, 619 (N.D. Ill. 2000); see also Fed. R. Civ. P. 42, Advisory

Comments (“[S]eparation of issues for trial is not to be routinely ordered[.]”). The moving party

“has the burden of showing that judicial economy would be served and the balance of potential

prejudice weighs in favor of bifurcation.” Trading Technologies Intern., Inc. v. eSpeed, Inc., 431

F. Supp. 2d 834, 836 (N.D. Ill. 2006). “When determining whether to bifurcate discovery and

trial, the Court ‘must balance considerations of convenience, economy, expedition, and

prejudice, depending on the peculiar facts and circumstances of each case.’” Estate of Loury v.

City of Chi., 2017 WL 1425594, at *2 (N.D. Ill. Apr. 20, 2017) (St. Eve, J.) (quoting Houskins v.

Sheahan, 549 F.3d 480, 495 (7th Cir. 2008)).

         The City makes two primary arguments in favor of bifurcation: (1) efficiency and

judicial economy would be served by bifurcation because it may allow the parties to avoid expert

discovery and a lengthier trial related to the Monell claim; and (2) the balance of potential

prejudice weighs in favor of bifurcation since Plaintiff’s monetary recovery would not be

increased if he prevailed on his Monell claim. Plaintiff shows below that each argument is faulty

and must be rejected.

I.       Efficiency and Judicial Economy Favor a Unitary Expert Discovery Process and
         Trial

         The City contends that bifurcation will serve the interests of efficiency and judicial

economy because: (1) the presentation of Plaintiff’s Monell claim “would take months to try”

and “would entirely subsume any trial on the merits of Plaintiff’s specific claims of abuse”; (2)

there is a “significant risk” that Plaintiff will lose his coerced confession claim against Burge,

Byrne and Dignan and therefore “the Court would have wasted many months and many hours of

time trying a Monell claim on which Plaintiff could not prevail as a matter of law”; and (3)




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bifurcation will save the parties from spending time and resources on Monell expert discovery.

Each of these arguments is without merit.

        A.       Plaintiff’s Presentation of His Monell Claim at Trial Will Be Short and
                 Streamlined

        The City’s hyperbolic speculation concerning the length and complexity of trial if

bifurcation is not granted is highly exaggerated and unsupported. While it is true that a

tremendous amount of evidence exists concerning the pattern and practice of torture at Area 2

under Burge, Plaintiff will be able to distill from that evidence a focused and short presentation

of the Monell claim that will not consume an excessive amount of trial time. Plaintiff’s

presentation will include principally admissions from City officials, judicial and administrative

findings, testimony regarding a handful of key events involving policymakers, and the testimony

of a small number of other victims of Burge, Byrne and Dignan. Plaintiff will also call a police

practices expert to testify about the existence of the alleged policies and practices and how a

municipality and its policymakers might appropriately have responded after the policymakers

learned of the pattern of torture and physical abuse, which will greatly streamline the

presentation.1

        The City’s assertion that the Monell claim will take “months” to try is particularly absurd

given the fact that the Court, not the parties, determines the length of trial. Plaintiff will have to

decide how much trial time to devote to his Monell evidence within the confines of the trial

schedule set by the Court, which, presumably, will be weeks, not months. Not only will this

evidence be presented succinctly, but most of it would be admissible even without the Monell


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  Plaintiff’s expert, Richard Rosenthal, a retired NYPD lieutenant and Chief of Police in Wellfleet
Massachusetts, has already formulated his opinion, focused on the pattern and practice of Area 2 torture,
its racist nature, the CPD code of silence, and the failure to discipline the torturers, and the opinion has
been tendered to Defendants’ counsel.


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claim. First, the victim witnesses who will testify concerning the torture they endured would be

called pursuant to Fed. R. Evid. 404(b) even if the Monell claim were not in the case.2 See

Wilson v. City of Chicago, 6 F.3d 1233 (7th Cir. 1993) (other acts of torture and abuse by Jon

Burge and his men admissible under Rule 404(b)). Second, evidence against the individual

policymaking Defendants—i.e., Daley, Martin, Shines, Hillard and Needham—will obviously be

admissible to show those defendants’ individual and conspiratorial liability, even in the absence

of a Monell claim against the City.

        In short, the City’s argument that efficiency and judicial economy would be furthered by

granting their motion is grossly exaggerated. To the contrary, holding two separate trials on such

closely related issues would multiply the proceedings, impose huge additional costs on the

parties, and inconvenience the witnesses. These factors weigh heavily in favor of denying

bifurcation.

        B.      A Unified Trial Would Conserve Not Waste Judicial Resources

        The City warns of a “significant risk” that judicial resources will be “wasted” on

Plaintiff’s Monell claim if bifurcation is not granted and Plaintiff loses his coerced confession

claim against Burge, Byrne and Dignan at trial. Although the City’s argument that separate trials

would promote judicial economy if the individual defendants prevail in the first trial is true, it

has not demonstrated that such success is likely. In fact, the likelihood of Plaintiff losing all of

his claims, particularly his coerced confession claim, against Burge, Byrne and Dignan is

extremely low considering the fact that these defendants have not even denied Plaintiff’s


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 The City asserts, without any explanation or citation to authority, that Plaintiff may somehow be
“collaterally estopped” from calling victim witnesses who “have filed their own lawsuits.” City Br. at 9-
10. This baseless argument is perfunctory and undeveloped and should be deemed waived. See Hess v.
Kanoski & Assocs., 668 F.3d 446, 455 (7th Cir. 2012) (“perfunctory and undeveloped arguments, and
arguments that are unsupported by pertinent authority, are waived”); Patel v. Zillow, Inc., 2018 WL
2096453, at *6 (N.D. Ill. May 7, 2018) (St. Eve, J.).

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allegations, but have instead asserted their Fifth Amendment rights against self-incrimination,

which allows the trier of fact to take an adverse inference. See Baxter v. Palmigiano, 425 U.S.

308 (1976). Thus, the City’s logic is turned on its head—since the likelihood of Plaintiff winning

at least his coerced confession claim is extremely high, there is a “significant risk” that

bifurcation would not serve judicial economy because it would necessitate two separate trials

with two separate juries at remote times involving overlapping evidence. See, e.g., Houskins v.

Sheahan, 549 F.3d 480, 496 (7th Cir. 2008) (affirming a district court’s decision not to sever

claims against two defendants because those claims clearly entailed “an overlap in the facts,

evidence, and witnesses required”).

       C.      Bifurcation Will Not Save the Parties From Spending Time and Money on
               Expert Discovery

       The City’s argument that bifurcation would save the parties time and money on expert

discovery is also unavailing. Plaintiff has already expended a significant amount of time and

money on a Monell expert whose opinion was disclosed on July 24, pursuant to the Court’s

deadline. If the City was serious about making this argument, it should have filed the instant

motion far sooner than seven business days before the due date of Plaintiff’s Monell expert

disclosure. Furthermore, as explained in the previous sections, delaying the remainder of expert

discovery until after the trial of Plaintiff’s claims against the individual defendants would likely

result in an unnecessary multiplication of the proceedings.

       Although every defendant would prefer to avoid the costs of litigation, such

considerations do not relieve the City of its obligation to defend against a valid Monell claim and

participate in the legal process like any other defendant.




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II.    Considerations of Prejudice to the Parties Counsel Against Bifurcation

       The City’s contention that there is nothing to be gained from litigation of Plaintiff’s

Monell claim is flawed. In fact—completely independent of any direct financial benefit to

Plaintiff—there are vitally important objectives of deterrence and reform that would be furthered

by a judgment holding the City liable, once and hopefully, for all, for the criminal misconduct of

Burge, Byrne and Dignan. In this case, Plaintiff contends that, for decades, high City officials

closed their eyes to the Burge scandal, actively worked to cover it up and thereby facilitated,

enabled, and ratified Burge and his co-conspirator’s continued egregious wrongdoing. Now, in

this case, and in the face of all the incontrovertible evidence, the City continues to stubbornly

deny this contention. See City Answer to Complaint, Dkt. 82, ¶¶ 71-119. Plaintiff believes that a

jury verdict holding the City liable for what happened to him—not derivatively, as in a

respondeat superior case, but directly so, because Burge, Byrne and Dignan acted pursuant to

and were facilitated in their misconduct by policies and practices of the City itself—would

operate powerfully to alter the City’s decades of litigational denial and avoidance. Thus, the role

that official indifference, complicity, and concealment played in Plaintiff’s conviction and

decades of wrongful imprisonment is a central dispute in this case. Plaintiff is entitled to have

that dispute adjudicated—not for abstract reasons, but because the adjudication will vindicate

him for the violation of his rights by all responsible parties and because a judgment against the

City has the unique potential to achieve deterrence and reform.

       The Supreme Court recognized the independent importance of a Monell claim against a

municipality in Owen v. City of Independence, 445 U.S. 622 (1980), which held that the

defendant municipality could be held liable for its unconstitutional policies even when the

individual municipal defendants were adjudged to have qualified immunity. In denying a



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qualified immunity defense to the city, the Supreme Court relied upon the important deterrent

effect of a § 1983 action, and underscored the special importance such deterrence plays when the

defendant is a municipality:

        [§ 1983] was intended not only to provide compensation to the victims of past abuses, but
        to serve as a deterrent against future constitutional deprivations . . . . The knowledge that
        a municipality will be liable for all of its injurious conduct, whether committed in good
        faith or not, should create an incentive for officials who may harbor doubts about the
        lawfulness of their intended actions to err on the side of protecting citizens’ constitutional
        rights.

Owen, 445 U.S. at 651-52. The Court made this further observation, which applies with

particular force here:

        How “uniquely amiss” it would be, therefore, if the government itself—“the social organ
        to which all in our society look for the promotion of liberty, justice, fair and equal
        treatment, and the setting of worthy norms and goals for social conduct”—were permitted
        to disavow liability for the injury it has begotten. See Adickes v. Kress & Co., 398 U.S.
        144, 190 (1970) (opinion of BRENNAN, J.). A damages remedy against the offending
        party is a vital component of any scheme for vindicating cherished constitutional
        guarantees, and the importance of assuring its efficacy is only accentuated when the
        wrongdoer is the institution that has been established to protect the very rights it has
        transgressed.

Id. at 651.

        Many courts in this district, including this Court, have found that, “even if there are no

financial benefits to maintaining a Monell action, there are other critical reasons the plaintiff may

wish to win a judgment against a municipality on her Monell claim, even if she has already won

a judgment against individual officers and the municipality has consented to judgment.” Estate of

Loury, 2017 WL 1425594, at *5 (denying City’s bifurcation motion, finding that “Plaintiff has

other important objectives—most notably, deterrence and reform—that would be furthered by a

judgment holding the City liable for the Defendant Officers’ misconduct,” and recognizing

“Plaintiff’s legitimate interests in obtaining a Monell judgement against the City and the fact that

Plaintiff is the master of her complaint”); Estate of McIntosh v. City of Chi., 2015 WL 5164080,

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at *10 (N.D. Ill. Sep. 2, 2015) (St. Eve, J.) (same); King v. Evans, 2015 WL 4397761, at *2

(N.D. Ill. July 17, 2015) (explaining that a successful Monell action may “have the [legitimate]

benefit of deterring future official misconduct . . . even if it results in an award of only nominal

additional monetary damages”); Giles v. Ludwig, 2013 WL 6512683, at *3 (N.D. Ill. Dec. 6,

2013) (“mere monetary compensation for constitutional injuries may not have the same deterrent

effect as a judgment naming the municipality as responsible based on its policies and customs”);

Cadiz v. Kruger, 2007 WL 4293976, at *10 (N.D. Ill. Nov. 29, 2007) (denying motion for

bifurcation due to importance of proving that a municipality has unconstitutional policies,

practices, or customs); Medina v. City of Chicago, 100 F. Supp. 2d 893, 896 (N.D. Ill. June 16,

2000) (noting that there are non-economic benefits plaintiffs can obtain from suing a

municipality instead of an individual officer). Furthermore, “[a]llowing Plaintiff to proceed on

all of his theories allows a jury to see the entire picture of what Plaintiff claims Defendants did

that violated the law and caused him injury in this case.” Cadle v. City of Chi., 2015 WL

6742070, at *4 (N.D. Ill. Nov. 2, 2015).

       On the other hand, the City’s assertion that the individual defendants will suffer undue

prejudice form a unitary trial on Plaintiff’s claims is untrue. Significantly, the individual

defendants have not joined in the City’s motion to bifurcate or asserted that they will suffer

prejudice in a unitary trial. In any event, the City incorrectly assumes that other incidents of

police torture not directly involving Burge, Byrne and Dignan will be introduced at trial, with the

result that the jury would find against these defendants because of the evidence of other officers’

misconduct.

       As explained above, Plaintiff will not attempt to prove his Monell claim with a lengthy

parade of torture victims. There will be only a small number of such victims. Moreover, Plaintiff



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will limit the other-victim testimony to victims of Defendants Burge, Byrne and Dignan. These

other victims would be called as Rule 404(b) witnesses against these particular defendants even

without the Monell claim.

       Plaintiff’s other Monell evidence will consist of proof that high ranking Police and City

officials were on notice of the pattern of abuse and torture under Burge and failed to act. Like the

other-victim evidence, much or all of this evidence would be admissible for Plaintiff’s individual

and conspiracy claims against Defendants Daley, Martin, Hillard, Needham and Shines even if

the Monell claim were not also on trial.

       To the extent that any minimal unfair prejudice might arise, it can be effectively

addressed through the use of limiting instructions. Federal Rule of Evidence 105 directs the

district court to provide instructions to the jury “restrict[ing] the evidence to its proper scope.”

Limiting instructions are an effective tool for reducing or eliminating prejudice, and it has long

been the law that juries are presumed to follow them. See McLaughlin v. State Farm Mut. Auto

Ins. Co., 30 F.3d 861, 870-71 (7th Cir. 1994) (no need to bifurcate to avoid prejudice where it is

presumed jury could follow limiting instruction on how to consider evidence); United States v.

James, 487 F.3d 518, 524 (7th Cir. 2007) (presumption that juries follow instructions is

rebuttable but very strong); Terrell v. Childers, 1996 WL 385310, at *14 (N.D. Ill. July 3, 1996)

(rejecting argument that prejudicial evidence against one defendant would “spill over” onto

others because court “will not try the case with the notion that jurors will not faithfully undertake

their obligations”); Nat’l Union Fire Ins. Co. v. Dowd & Dowd, 191 F.R.D. 566, 567 (N.D. Ill.

1999) (“[A] properly instructed jury will be able to follow and absorb the testimony of a

carefully-organized—albeit longer—trial of the entire matter” where the facts were not

particularly complex). “As several courts in this district have noted, any potential prejudice that



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might arise from a unitary trial can be mitigated through the use of limiting instructions, motions

in limine, and the Rules of Evidence.” Giles, 2013 WL 6512683, at *2 (citing Elrod v. City of

Chicago, 2007 WL 3241352, at *7 (N.D. Ill. Nov. 1, 2007); Medina, 100 F. Supp. 2d 893 at 897;

and Nessel v. City of Northlake, 1994 WL 685508, at *2 (N.D. Ill. Dec. 5, 1994)); see also

Marshbanks v. City of Calumet City, 2015 WL 1234930, at *5 (N.D. Ill. Mar. 16, 2015) (St. Eve,

J.) (“Calumet City’s argument that the evidence against Calumet City will prejudice Defendant

Officers is best cured by proper jury instructions and pre-trial evidentiary challenges”); Cadle,

2015 WL 6742070, at *3 (N.D. Ill. Nov. 2, 2015). Courts in this district have historically tried

similar Monell claims in significant civil rights § 1983 cases starting with Jones v. City of

Chicago, 856 F.3d 985 (7th Cir. 1988) and Wilson v. City of Chicago, 6 F.3d 1233 (7th Cir.

1993), and continuing to the present with Rivera v. Guevara, No. 12 C 4428 (N.D. Ill.) and

Fields v. City of Chicago, No. 10 C 1168 (N.D. Ill.).3

        The City has failed to meet its burden of demonstrating that any prejudice to the

individual defendants from a joint trial of the Monell claims could not be readily cured through

the use of jury instructions.

III.    The City’s Proffered “Limited Consent to Entry of Judgment” Is Procedurally
        Flawed, Offers Plaintiff No Benefit, and Strips Plaintiff of the Reformatory Benefits
        of His Monell Claim

        If this Court grants bifurcation, the City proposes a “Limited Consent to Entry of

Judgment” that it contends would guarantee that Plaintiff will receive any awarded compensatory

damages if a jury finds that his constitutional rights were violated. Thus, according to the City,


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  The City’s reliance on Kitchen v. Burge is misplaced as the court in Kitchen was focused in large part on
the benefits of bifurcating Monell fact discovery, which is not at issue here; Plaintiff’s Monell evidence
since Kitchen was decided has become more focused and incontrovertible; and in Kitchen three of the
four main individual torturer defendants—detectives Kill, Byron and Smith—all testified and denied
Kitchen’s torture allegations as opposed to asserting the Fifth Amendment as the main individual
defendants have done in this case.

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the proposed Limited Consent negates the need for a second trial on the Monell claim. This

Court should reject the City’s proffered “Limited Consent to Entry of Judgment.” First, it is not

contemplated by the Federal Rules of Civil Procedure and is therefore procedurally deficient.

Certainly, the proposed Limited Consent is not an unconditional Rule 68 offer of judgment

because it fails to stipulate to a single fact rather than admitting that its policies and practices

directly caused Plaintiff’s constitutional deprivations. Indeed, the Limited Consent affirmatively

disclaims any liability or culpability for Plaintiff’s injuries. Nor does the proposed Limited

Consent constitute a Rule 16 stipulation agreed upon by the parties, as Plaintiff emphatically

rejects it.4 Finally, the City’s proposed Limited Consent is not a permissible responsive pleading

pursuant to Rule 7(a). See Fed. R. Civ. P. 7; Haven v. Polska, 215 F.3d 727, 732 (7th Cir. 2000).

No basis in law therefore exists to use the City’s proffered document to deny Plaintiff his right to

litigate what is undeniably a viable Monell claim.

        Second, the City’s proposed Limited Consent gives Plaintiff nothing to which he is not

already entitled. State law already requires the City to indemnify any compensatory damages

judgments incurred by its police officers for conduct within the scope of their employment, and

there is no dispute in this case concerning scope of employment. The City therefore seeks to

extinguish Plaintiff’s meritorious Monell claim on nothing more than a promise to honor its

previously existing statutory and contractual obligations to satisfy a judgment against its

employees. See Giles, 2013 WL 6512683, at *3 n.1 (rejecting the City’s proposed Limited

Consent as an impermissible “attempt[] to circumvent the public policy goals of Monell claims




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 Plaintiff would consider agreeing to a Stipulation that the City, on, before and after January of 1983, had
a pattern and practice of torture and abuse under Burge, as well as a widespread police code of silence,
(both of which the city, through its policymakers has previously admitted to) leaving to the jury only the
even more limited question of causation.

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by insulating the City from litigating and accepting responsibility if their practices result in

constitutional injuries.”).

        Although courts in this district have accepted similar proposals from the City as a means

for guaranteeing that plaintiffs in civil rights actions receive any compensatory damages

awarded, under the current set of facts the proposed Limited Consent offers no benefit to

Plaintiff.

                                          CONCLUSION

        The City’s motion is at bottom an attempt to avoid a trial at which the City and its Police

Department will finally have to answer for its paramount role in a widespread forty-five year

scandal of systemic torture, fabrication and cover-up, and a widespread code of silence at Area 2.

Monell and § 1983 afford Plaintiff the right to that trial. The City’s Motion to Bifurcate should

be denied.



Dated: August 1, 2018                          Respectfully submitted,

                                               /s/ Ben H. Elson
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